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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------- X
  RUBENS PETION,

                                     Plaintiff,                                JUDGMENT
                                                                               15-cv-5770 (BMC) (VMS)
                   -against-

    NASSAU COUNTY CORRECTIONAL
    FACILITY, et al.

                                      Defendants.
  ----------------------------------------------------------- X
           A Memorandum, Decision, and Order of Honorable Brian M. Cogan, United States

  District Judge, having been filed on July 15, 2019, granting the defendants’ motions to dismiss;

  dismissing the claims against Judge Murphy sua sponte; and directing the Clerk of Court to enter

  judgment in favor of defendants, dismissing the complaint; it is

          ORDERED and ADJUDGED that the defendants’ motion to dismiss is granted; that the

  claims against Judge Murphy are dismissed sua sponte; that judgment is hereby entered in favor

  of defendants; and that the complaint is dismissed.

  Dated: Brooklyn, NY                                                   Douglas C. Palmer
         July 16, 2019                                                  Clerk of Court


                                                                  By:   /s/Jalitza Poveda
                                                                        Deputy Clerk
